




NO. 07-07-0486-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



FEBRUARY 29, 2008

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THE STATE OF TEXAS, APPELLANT



V.



JERRY DON FRITTS, APPELLEE

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FROM THE COUNTY COURT AT LAW NO. 2 &nbsp;OF POTTER COUNTY;



NO. 119183; HONORABLE PAMELA COOK SIRMON, JUDGE

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Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ. &nbsp;

MEMORANDUM OPINION

Pending before this Court is appellant’s &nbsp;motion to dismiss its appeal. &nbsp;Appellant’s attorney has signed the document stating that appellant withdraws its appeal. &nbsp;Tex. R. App. P. 42.2(a). &nbsp;No decision of this Court having been delivered to date, we grant the motion. &nbsp;Accordingly, the appeal is dismissed. &nbsp;No motion for rehearing will be entertained and our mandate will issue forthwith.

Mackey K. Hancock

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice



Do not publish.


